                Case 2:18-cr-00171-TLN Document 48 Filed 04/16/19 Page 1 of 3


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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0171-MCE
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           ORDER
14   FIDEL SANCHEZ-CRUZ,                                DATE: April 11, 2019
     AGUSTIN CRUZ-SANCHEZ,                              TIME: 10:00 a.m.
15   ABRAHAM DE LOS SANTOS-SANCHEZ,                     COURT: Hon. Morrison C. England, Jr.
     AND
16   NANCY EVELIN VILLENA-ARGUELLES,
17                               Defendants.
18
19                                             STIPULATION

20         1.      By previous order, this matter was set for status on April 11, 2019.

21         2.      By this stipulation, defendants now move to continue the status conference until June 13,

22 2019, and to exclude time between April 11, 2019, and June 13, 2019, under Local Code T4.
23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)     The government has represented that the discovery associated with this case

25         includes more than 10,500 pages of investigative reports, photographs, and other documents, as

26         well as video and audio recordings. All of this discovery has been either produced directly to

27         counsel and/or made available for inspection and copying. On or about March 8, 2019, the

28         government produced more than 3,000 additional pages of photographs. On or about March 14,

      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:18-cr-00171-TLN Document 48 Filed 04/16/19 Page 2 of 3


 1        2019, the government produced a preliminary final environmental assessment report for the

 2        cultivation site at issue in this case.

 3                b)      In addition, or about February 25, 2019, the government produced to defendant

 4        Villena-Arguelles the contents of her seized cell phone, consisting of hundreds of photographs,

 5        videos, and other files. On or about March 5, 2019, the government produced to defendant Cruz-

 6        Sanchez the contents of his seized cell phone, consisting of hundreds of photographs, videos, and

 7        other files. On or about March 14, 2019, the government produced to defendant Santos-Sanchez

 8        more than 90 pages of discovery consisting of files seized from co-defendants’ cell phones. Also

 9        on or about March 14, 2019, the government produced more than 450 pages of protected

10        materials to defendant Fidel Sanchez-Cruz, following the entry of a stipulated protective order

11        signed by Magistrate Judge Deborah Barnes on March 12, 2019 (Dkt. No. 44).

12                c)      Counsel for defendants desire additional time to review this discovery and discuss

13        it with their clients, to conduct investigation, and to otherwise prepare for trial.

14                d)      Counsel for defendants believe that failure to grant the above-requested

15        continuance would deny them the reasonable time necessary for effective preparation, taking into

16        account the exercise of due diligence.

17                e)      The government does not object to the continuance.

18                f)      Based on the above-stated findings, the ends of justice served by continuing the

19        case as requested outweigh the interest of the public and the defendant in a trial within the

20        original date prescribed by the Speedy Trial Act.

21                g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

22        et seq., within which trial must commence, the time period of April 11, 2019 to June 13, 2019,

23        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

24        because it results from a continuance granted by the Court at defendant’s request on the basis of

25        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

26        of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME               2
30   PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:18-cr-00171-TLN Document 48 Filed 04/16/19 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
      Dated: April 9, 2019                                    MCGREGOR W. SCOTT
 6                                                            United States Attorney
 7
                                                              /s/ DAVID W. SPENCER
 8                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
 9
10
      Dated: April 9, 2019                                    /s/ DINA SANTOS
11                                                            DINA SANTOS
                                                              Counsel for Defendant
12                                                            FIDEL SANCHEZ-CRUZ
13    Dated: April 9, 2019                                    /s/ MATTHEW BOCKMON
                                                              MATTHEW BOCKMON
14                                                            Counsel for Defendant
                                                              AGUSTIN CRUZ-SANCHEZ
15
      Dated: April 9, 2019                                    /s/ ETAN ZAITSU
16                                                            ETAN ZAITSU
                                                              Counsel for Defendant
17                                                            ABRAHAM DE LOS SANTOS-
                                                              SANCHEZ
18
      Dated: April 9, 2019                                    /s/ CLEMENTE JIMENEZ
19                                                            CLEMENTE JIMENEZ
                                                              Counsel for Defendant
20                                                            NANCY EVELIN VILLENA-
                                                              ARGUELLES
21
22
                                                      ORDER
23
            IT IS SO ORDERED.
24
     Dated: April 15, 2019
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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
